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UNTIED STATES DISTRICT COURT
DISTRICT OF SOUTH DAKOTA

 

NORTHERN DIVISION
SIOUX RURAL WATER SYSTEM, INC., a Civ. 15-1023
Non-Profit Corporation
Plaintiff,
Vs. AFFIDAVIT OF JEFF COLE IN
SUPPORT OF MOTION FOR
SUMMARY JUDGMENT

CITY OF WATERTOWN, a South Dakota
Municipality, and WATERTOWN
MUNICIPAL UTILITIES, an agency of the
CITY OF WATERTOWN

Defendants.

 

 

STATE OF SOUTH DAKOTA  )
COUNTY OF LINCOLN °°

Jeff Cole, being first duly sworn on oath, deposes and states:

1. That this affiant is one of the attorneys representing Sioux Rural Water
System, a non-profit corporation, in the above-entitled matter.

2. Attached hereto as Exhibit 1 is a true and correct copy of the relevant
portions of Jeff Deville’s deposition testimony.

3. Attached hereto as Exhibit 2 is a true and correct copy of the relevant
portions of Steve Burian’s deposition testimony.

4. Attached here to as Exhibit 3 is a true and correct copy of the relevant
portions of Steve Lehner’s deposition testimony.

5. Attached hereto as Exhibit 4 is a true and correct copy of the relevant

portions of Richard Wagner’s deposition testimony.
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6. Attached hereto as Exhibit 5 is a true and correct copy of the relevant
portions of Darin Schriever’s deposition testimony, including Exhibit 4 which was his
Expert Report. Attached are the first 8 pages of his report.

7. Attached hereto as Exhibit 6 is a true and correct copy of Steve Burian and

Richard Wagner’s Expert Report.

Dated this 7h day of November, 2016. J

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Subscribed and sworn to before me

this.7'h day of November, 2016.
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Notary Public - South Dakota

My Commission Expires: DT. by. ANY

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